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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 21-cr-00392-RM

UNITED STATES OF AMERICA,

             Plaintiff,

v.

DANIEL STONEBARGER,

           Defendant.
______________________________________________________________________

 PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY JUDGMENT
    AND SPECIFIC ASSETS AGAINST DEFENDANT DANIEL STONEBARGER
______________________________________________________________________

      THIS MATTER comes before the Court on the United States’ Motion for

Preliminary Order of Forfeiture for a Personal Money Judgment and Specific Assets

against defendant Daniel Stonebarger pursuant to Rule 32.2(b)(2) of the Federal Rules

of Criminal Procedure. The Court having read said Motion and being fully advised in

the premises finds:

      THAT on November 18, 2021, the United States charged defendant Daniel

Stonebarger by Information in Count One with violation of Title 18, United States Code,

Section 1343. The Information also sought forfeiture of the following assets pursuant to

Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,

Section 2461(c): 1) $548,861.29 in fraud proceeds from the defendant’s bank account

ending in 6774, account title Finish Armor, LLC, Civil Case No. 21-mc-00138-SKC; 2) a

2016 Land Rover Range Rover VIN: SALWR2EFXGA577611 seized in Civil Case No.


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21-mc-00142-SKC; and (3) a money judgment in the amount of the proceeds obtained

by the defendant’s scheme; and

      THAT on January 27, 2022, the United States and defendant Daniel Stonebarger

entered into a Plea Agreement, which provided that defendant would plead guilty to

Count One of the Information. It also contained a factual basis and cause to issue a

Preliminary Order of Forfeiture pursuant to Title 18, United States Code, Section

981(a)(1)(C), Title 28, United States Code, Section 2461(c), and Rule 32.2(b) of the

Federal Rules of Criminal Procedure.

             THEREFORE, IT IS ORDERED, DECREED AND ADJUDGED:

      THAT a Preliminary Order of Forfeiture for a Personal Money Judgment against

defendant Daniel Stonebarger in the amount of $334,533.21, shall be entered in

accordance with Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c);

      THAT defendant’s interest in the $548,861.29 in fraud proceeds from the

defendant’s bank account ending in 6774, account title Finish Armor, LLC, and the 2016

Land Rover Range Rover, VIN: SALWR2EFXGA577611, are subject to forfeiture

pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United

States Code, Section 2461(c), based on the commission of the offense set forth in

Count 1;

      THAT Pursuant to Federal Rule of Criminal Procedure 32.2(b)(4), this Forfeiture

Money Judgment shall become final as to the defendant at the time of sentencing and

shall be made part of the sentence and included in the judgment; and


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      THAT this Preliminary Order of Forfeiture may be amended pursuant to the

Federal Rules of Criminal Procedure, Rule 32.2(e)(1).



      SO ORDERED this _________ day of __________________2022.


                                 BY THE COURT:


                                 _________________________________
                                 Raymond P. Moore
                                 United States District Judge




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